Case MDL No. 2406 Document 15-1 Filed 09/20/12 Page 1 of 1

United States Judicial Panel on Multidistrict Litigation
MDL No. 2406 & Title —-IN RE: Blue Cross Blue Shield Antitrust Litigation

Richards et al v. Blue Cross and Blue Shield of Alabama et al, Northern District of Alabama,
2:12-cv-01133-RDP;

One Stop Environmental, LLC et al v. Blue Cross and Blue Shield of Alabama et al, Northern
District of Alabama, 2:12-cv-01910-RDP;

Bajalieh et al v. Blue Cross and Blue Shield of Alabama et al, Northern District of Alabama;
2:12-cv-02185-RDP; -

American Electric Motor Services Inc v. Blue Cross and Blue Shield of Alabama et al, Northern
District of Alabama, 2:12-cv-02169-RDP;

GC Advertising LLC et al v. Blue Cross and Blue Shield of Alabama et al, Northern District of
Alabama, 2:12-cv-02525-RDP;

Carder et al v. Blue Cross and Blue Shield of Alabama et al, Northern District of Alabama, 2:12-
cv-02537-RDP;

Conway v. Blue Cross and Blue Shield of Alabama et al, Northern District of Alabama, 2:12-cv-
02532-RDP; and,

